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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-20122-CR-ALTMAN

     UNITED STATES OF AMERICA

     vs.

     JOHNNY WATSON,

                    Defendant.
                                                                    I

                                          FACTUAL PROFFER

            The United States Attorney ' s Office for the Southern District of Florida and JOHNNY

     WATSON (" WATSON") agree that had this case gone to trial that the United States would have

     proven beyond a reasonable doubt, amongst other things, that:

            Beginning on or about February 9, 2021, and continuing through on or abuui February

     12,2021 , in Miami-Dade County, and elsewhere, WATSON did knowingly and willfully conspire

     with other persons to commit mail fraud , in violation of Title 18, United States Code, Section

     1341 ; all in violation of Title 18, United States Code, Section 1349.

            On February 12, 2021 , an investigator with a mail shipping company informed HSI Special

     Agents that he had identified a package at the UPS sorting facility located at 3500 NW 64 th Ave.,

     Miami FL 33122, that fit the characteristics of a package associated with Elder Fraud . The

     packed was addressed to " Bernard Deangelis" at 5305 Red Road, Coral Gables, Florida 33146,

     "Delivery Add ress l ." The package was sent by an individual, "J.A.," from Bethesda, Maryland.

     A law enforcement record search revealed there was no "Bernard Deangelis" associated with

     Delivery Address 1, and it appears that the name is a fictitious name.

            The package was scheduled for overnight, early morning delivery, had not been insured,
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    had a declared value of$ I .00 in U.S . currency, and Delivery Address I was a residential address.

    Delivery of the package which had been shipped on February 10, 2021, had been delayed due to

    weather. The package was subsequently opened by mail shipping company and was found to

    contain $12,000 in U.S. currency contained in two bank envelopes and surrounded by brown paper

    and plastic. A law enforcement record search revealed that "J.A. ," from Bethesda, Maryland, is

    a 69-year-old female.

           Based on the training and experience of other law enforcement officers, a tracking warrant

    for the package, along with the permission to insert a beacon into the package, were obtained from

    a federal magistrate judge. After the tracking warrant was obtained, a tracker and beacon were

    placed inside the package, and the package was delivered by the mail shipping company to

    Delivery Address 1.

           Prior to the delivery of the package to Delivery Address 1, law enforcement observed the

    address. Delivery Address I appeared to be empty and had a "for sale" sign outside. In addition,

    a vehicle with an occupant was observed parked at Delivery Address 1. The vehicle was a

    grey/silver Chrysler minivan. One occupant was observed by law enforcement to be inside the

    vehicle at that time. Prior to the delivery of the package to Delivery Address 1, no individual

    was observed to have exited or entered the vehicle near the address.

           The package with the tracking device was delivered to Delivery Address 1 by the mail

    shipping company at approximately I :45 pm . After the delivery, law enforcement observed, co-

    conspirator 1, the individual previously observed by law enforcement, exit the vehicle that was in

    the vicinity of Delivery Address 1, pick up the package, and take place it inside the vehicle from

    which he had exited. The vehicle then left the vicinity of Delivery Address 1.

           Sometime after the vehicle left Delivery Address 1, law enforcement observed that there
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    was a second individual in the vehicle, later identified as WATSON, in the front passenger seat.

            While law enforcement followed the vehicle containing the package and driven by co-

    conspirator 1, with WATSON in the front passenger seat, it became apparent to law enforcement

    that co-conspirator 1 had become aware that his vehicle was being followed by law enforcement

    due to the fact that he began to drive erratically, in that he made multiple U-turns and abrupt turns

    at intersections.

            Eventually, law enforcement-initiated actions in order to have the vehicle stop. After an

    encounter between law enforcement and the vehicle, WATSON was detained after being removed

    from the front passenger seat of the vehicle. The package was later recovered from the second

    row of the vehicle, right rear seat.

            Law enforcement interviewed the victims of the mail fraud scheme that had sent the
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    package containing cash that was part of the controlled delivery on February 12, ~               , as

    described above. The victims were a married couple, J.A. and M.F. The victims stated that they

    were contacted by someone claiming to be their oldest daughter. The person told them that their

    dau ghter had rear-ended a vehicle driven by a pregnant woman while talking on her cell-phone

    and she was being charged with reckless driving. The person stated that she had a lawyer and

    connected J.A. and M.F . to the lawyer. A male, pretending to be their daughter's lawyer, got on

    the phone with J.A. and M.F. and stated that their daughter needed $12,000 to post bail and once

    that was done the case would be dismissed . The male told them how to package the money and

    where to send it in Coral Gables. They were told to send it overnight, no insurance, and early

    morning delivery. They sent the package on February 10 th to Delivery Address 1. The lawyer

    gave a phone number with a 646 area code - New York area. The package was delayed due to

    weather. The fraudster pretending to be the lawyer called back stating that the pregnant women
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    had lost her baby due to injuries occurred during the accident and the charges were being increased

    and they needed more money - another $12,000 - to resolve the matter. The fraudster stated that

    they knew there was an issue with the delivery of the UPS package and asked them to send the

    additional $12,000 via FedEx. They were directed to send that money to an address in Paterson,

    New Jersey.       That package was sent containing $12,000, and successfully delivered to that

    address in Paterson, New Jersey. The fraudster claimed that the judge had issued a gag order and

    that they could not speak to anyone and if they did the charges could not be expunged. Hence,

    they did not initially call their daughter.   Eventually, they did contact their daughter and realized

    that they had been victims of the mail fraud scheme as their daughter had never been involved in

    a car accident.

            After further investigation, law enforcement learned that on February I 0, 2021 , a police

    report was filed with the Coral Gables, Florida Police Department by a driver from a parcel

    shipping company. In the report, the driver stated the suspicious activity of two black males who

    had approached him on two separate occasions within a few hours apart, asking about the delivery

    ofa package. On February 17, 2021 Special Agents interviewed the driver who stated that on the

    morning of February 10, 2021 he delivered a package to a residence located on SW 23 Street,

    Miami , Florida ("Delivery Address 2") addressed to "Irene Barnes." The driver stated that the

    homeowner at Delivery Address 2 told him that the no one by the name listed on the package

    resided at his residence. The driver stated that he later returned that package to the parcel shipping

    company hub. The driver said that as he left Delivery Address 2, he was flagged down by two

    black males in a newer model silver/gray Chrysler Minivan, and that the person driving the

    minivan asked him if he had delivered the package. As the driver began to inform the driver of

    the minivan of his attempted delivery of the package, the driver of the minivan sped off toward
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    Delivery Address 2.

           Later that same day, the driver said that after delivering another package at a different

    location, his delivery truck was cutoff by the same Chrysler minivan that he had encountered in

    the morning. The driver stated that the passenger stepped out of the vehicle and again asked him

    for the package from earlier in the day, that it was for his wife. The driver told that passenger that

    he had returned the package to the parcel shipping company hub. The driver stated that during the

    entire exchange with the passenger, the passenger was on his phone and was relaying what was

    said to an unknown person over the telephone. The driver said that as he drove off, he observed

    the Chrysler minivan following him , which prompted him to call the police and file the report.

           The driver was shown a photo lineup. The driver pointed to the photograph of co-

    conspirator 1, as the person who was driving the Chrysler Minivan, however the driver said he

    was not sure co-conspirator 1 was the driver. The driver was then shown anothe r photo iineup, the

    driver identified WATSON as the passenger of the minivan, however, the driver was not I 00%

    sure that WATSON was the passenger.

           Law enforcement interviewed the victim who sent the package that was attempted to be

    delivered on February 10, 2021, C.E. C.E. stated that she was contacted by individuals claiming

    that they were here grandson and his lawyer. The fake story told to C.E. by these individuals was

    that her grandson was involved in a car accident and that the police found drugs in his car and he

    needed money for bail. C.E. was then instructed to send $8,000 to Delivery Address 2.           C.E.,

    using the money she had set aside for her funeral expenses, mailed the money on February 9,

    2021. She later learned that it was a fraud scheme when she was contacted by Coral Gables Police

    Department and informed of the events that had occurred during the attempted delivery of the

    package she had sent. C.E. also determined that her grandson had not been involved in a car

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    accident.

           Law enforcement also learned during their investigation that two other packages had been

    sent by victims of the mail fraud scheme to addresses in the Miami/Coral Gables. One package

    containing $10,000 was delivered on February 9, 2021 , to Delivery Address 2. Another package

    containing $5 ,000 was delivered on February 11, 2021 , to Delivery Address I.

           Law enforcement interviewed the victim who had sent that package that was delivered on

    February 9, 2021 , to Delivery Address 2, N.B. The victim stated that she was contacted by a

    person pretending to be her nephew. The individual pretending to be her nephew stated that he

    was driving his car and slid off the road and needed money to stay out of jail The individual

    pretending to be her nephew then called back the next day and stated that the police had found

    drugs in the car. N.B. sent $10,000 to Delivery Address 2. The package that N.B. sent was

    delivered to that address on February 9, 2021 .   N.B. eventua.lly realized that her nephew had not

    been in a car accident.

           Law enforcement interviewed the victims who had sent that package that was delivered

    on February 11 , 2021 , a married couple F.C. and C.C. The victims stated that they were contacted

    by a person impersonating their grandson, C.C. That person stated that he had been arrested

    while serving in the military on board a military ship for possessing drugs and that he needed

    $5,000 sent to the Coral Cables area. F.C . and C.C. sent the $5,000, which was successfully

    delivered Delivery Address 1, before they realized that their grandson had not been arrested and

    that they were victims of fraud.

           Law enforcement obtained via search warrant the cellsite records for WATSON and co-

    conspirator 1 for a time period including February 9, 2021 , through February 12, 2021. The

    records indicate that each day from February 9, 2021 through February 12, 2021 , WATSON and

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             co-conspirator 1 were at their respective homes in the Miami Gardens area in the early morning

             hours of each day. Then, the cellsite records indicate that on each day, both WATSON and co-

             conspirator 1 were together in the Miami/Coral Gables areas of Delivery Address 1 and 2, where

             each of the packages described above were delivered or attempted to be delivered.




                                                         JUAN ANTONIO GONZALEZ
                                                         ACTING UNITED ST A TES ATTORNEY


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             Date:   7/28/2021            By:                 '- - - - - - - - - - - - - -
                                                         KURT K. LUNKENHEIMER
                                                         ASSISTANT UNITED STA TES ATTORNEY


             Date:                        By:
                                                         IAN MCDONALD
                                                         ASSISTANT FEDERAL PUBLIC DEFENDER
                                                         ATTORNEY FOR JOHNNY WATSON


             Date:                        By:
                                                         JO    WATSON
                                                         DEFENDANT




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